                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


JODY E. RATCLIFF,                                 )
                            Plaintiff,            )
                                                  )
              v.                                  )      1:17-CV-174
                                                  )
AMERICAN HONDA MOTOR CO. INC.,                    )
et al.                                            )
                                                  )
                            Defendants.           )

                                          ORDER

       THIS MATTER is before the Court upon a joint motion by the Plaintiff, Jody E.

Ratcliff, and Defendant Mitsubishi Motors North America, Inc. to dismiss without

prejudice, all claims against Mitsubishi Motors North America, Inc. in this matter.

       It appearing that grounds exist to permit Plaintiff to voluntarily dismiss this action

against Mitsubishi Motors North America, Inc., without prejudice, and that the motion

should be granted for good cause shown.

       It is therefore ORDERED, ADJUDGED, and DECREED that the action of

Plaintiff against Mitsubishi Motors North America, Inc. be dismissed without prejudice,

with each party to bear her or its own costs.

       This the 8th day of May, 2019.


                                          ___________________________________
                                          UNITED STATES DISTRICT JUDGE




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